                         Case 23-11477-mkn                 Doc 1        Entered 04/15/23 14:53:17                   Page 1 of 44


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                THE KINGPIN EMPIRE, INC.

2.   All other names debtor
     used in the last 8 years
                                  DBA Kingpin University
     Include any assumed          DBA Kingpin Car & Marine Audio
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1610 Raiders Way, Suite 140
                                  Henderson, NV 89052
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.kingpinuniversity.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    THE KINGPIN EMPIRE, INC.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    THE KINGPIN EMPIRE, INC.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                      Principal of
     attach a separate list                          Debtor      Jason Kranitz                                                 Relationship               Debtor

                                                     District    District of Nevada           When                             Case number, if known      TBD


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                                  Personal Property Located at Debtor's Place of Business - Locks Should be
                                                       Other      Immediately Changed
                                                                                     1610 Raiders Way, Suite 140
                                                    Where is the property?           Henderson, NV, 89052-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?

                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   THE KINGPIN EMPIRE, INC.                                                    Case number (if known)
         Name

                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                         Case 23-11477-mkn                  Doc 1        Entered 04/15/23 14:53:17                       Page 5 of 44
Debtor    THE KINGPIN EMPIRE, INC.                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 14, 2023
                                                  MM / DD / YYYY


                             X   /s/ Jason Kranitz                                                        Jason Kranitz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Brian D. Shapiro                                                      Date April 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Brian D. Shapiro 5772
                                 Printed name

                                 Law Office of Brian Shapiro, a Nevada LLC
                                 Firm name

                                 510 S. 8th Street
                                 Las Vegas, NV 89101-7003
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     702-386-8600                  Email address      brian@brianshapirolaw.com

                                 5772 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 14, 2023                  X /s/ Jason Kranitz
                                                           Signature of individual signing on behalf of debtor

                                                            Jason Kranitz
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                              Case 23-11477-mkn                                    Doc 1              Entered 04/15/23 14:53:17                                           Page 7 of 44

 Fill in this information to identify the case:

 Debtor name            THE KINGPIN EMPIRE, INC.

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            60,556.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            60,556.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           205,016.98


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           444,543.47


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             649,560.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     U.S. Bank                                         Checking                              1712                                     Unknown




          3.2.     US Bank                                           Checking                              1688                                     Unknown



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       THE KINGPIN EMPIRE, INC.                                                Case number (If known)
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials
          See answer to question
          29                                                                       $0.00                                          Unknown



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor      THE KINGPIN EMPIRE, INC.                                      Case number (If known)
            Name

         All Property Listed Herein is Believed to Be
         Secured by U.S. Small Business
         Administration and has been appraised: (4) 8'
         x 18'" Folding Tables - $140.00; (3) 6' x 18"
         Folding Tables - $75.00; (2) Sony 36" TVs -
         $120.00; Portable Photo Booth - $50.00;
         Grease Board - $100.00; (14) Folding Chairs -
         $70.00; LG Refrigerator - $165.00; GE
         Microwave Oven - $20.00; - Assorted
         Cardboard Shipping Boxes - $75.00; Wall
         Display Grid w/Sample Speaker Grills - $50.00;
         Subwoofer Speaker Box - $25.00; (2) Wall
         Mount Displays w/ Sample Speakers - $40.00;
         Wall Display w/ (10) Marine Speakers -
         $500.00; (2) Side Chairs - $120.00; (2)
         Executive Office Chairs - $140.00; (2) Desks -
         $90.00; Computer Monitor - $40.00; Computer
         w/ Monitor - $100.00; (2) Trash Cans - $15.00;
         Cash Drawer - $30.00; HP Printer - $35.00; (2)
         Samsung TVs - $120.00; Exile Amp - $65.00;
         Large Work Bench w/ Drawers - $80.00;
         Storage Cabinet - $65.00; (2) Large Transport
         Cases - $300.00; Wireshelf Unit - $50.00; (2)
         Plastic Storage Cases - $40.00; Assorted New
         and Used Stereo Parts - $1,000.00; PR of MTX
         Audio Speakers Thunder Pro - $50.00; Hyster
         Forklift Model S50E Ser#DOOSD12889F
         (Transmission Problem) $2,000.00; Advantage
         4-Post Audo Lift - $1,700.00; 20-Ton Hydraulic
         Press - $250.00;                                                $0.00    Appraisal                   $7,720.00


         All Property Listed Herein is Believed to Be
         Secured by the U.S. Small Business
         Association and has been appraised -
         Advantage 4-Post Audo Lift - $1,700.00; 20-Ton
         Hydraulic Press - $250.00; Rolliing Work Table
         - $100.00; Rolling Stool - $20.00; Snap-on
         Jumper Box - $165.00; Storage Cabinet -
         $75.00; Assorted Hardware (Screws, Nuts,
         Bolts, Connectors, Etc) - $150.00; Chrome Car
         Ramps - $100.00; Floor Jack - $45.00; Stool -
         $45.00; Snap-On Lower Tool Box w/ Hand
         Tools - $2,000.00; Snap-On Ethos Scanner -
         $150.00; AMP Meter - $50.00; Assorted Small
         Electric Meters - $150.00; Snap-On Tool Box -
         $550.00; Assorted Wire & Cables - $125.00;
         Shop Vacuum - $20.00; Denon Reciever -
         $50.00; (2) Snap-On Battery Chargers & Jump
         Starters - $40.00; Porter Cable Bench Drill
         Press - $50.00; Delta Boss Bench Oscillating
         Spindle Sander - $200.00; Central Machinery
         Disc Sander - $50.00; (6) Work Bench/Cabinets
         - $500.00; Rack w/ Assorted Plywodd & Plastic
         Panels - $175.00; Makita Chopsaw - $90.00;
         Sindoh 3-D Printer (Broken ) - $20.00; Troy-Bilt
         Pressure Washer - $175.00; Pallet Rack -
         $150.00; Small Cabinet - $200.00; Floor Fan -
         $35.00; Blower - $30.00; 4-Wheel Dolly -
         $10.00; Transport Case - $85.00; Red Wire
         Shelf - $45.00; Creeper - $20.00; Folding Table
         - $20.00; Work Bench - $75.00                                   $0.00    Appraisal                   $7,715.00


Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                      page 3
                     Case 23-11477-mkn                  Doc 1         Entered 04/15/23 14:53:17                 Page 11 of 44

Debtor       THE KINGPIN EMPIRE, INC.                                                       Case number (If known)
             Name



          All Property Listed Herein is Believed to Be
          Secured by U.S. Small Business Association
          and has been appraised: (3) Retractable Hose
          & Cord Reels - $120.00; Paint Shaker - $35.00;
          Cascade Paint Gun Washer - $150.00; Fan -
          $30.00; Assorted Cords - $30.00; Tool Cart -
          $80.00; Grizzly Industrial Sander - $60.00;
          Assorted Power Hand Tools (Drills, Staplers,
          Grinders, Etc.) - $95.00; Porter Cable Mitersaw
          - $120.00; Rolling Work Bench/Cabinet -
          $75.00; Rolling Storage Bin - $25.00; 60"
          Samsung TV - $110.00; Miscellaneous Trade
          Show Booth Inventory - $250.00                                                  $0.00     Appraisal                          $1,180.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          All Property Described Herein Appears to be
          Secured by CTI - Camara Panther PT 408 ATC
          Router W/Mink MM 1252 AV Pump                                                   $0.00     Appraisal                         $15,500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $32,115.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2017 Toyota Tundra - mileage 86,236.00
                   - co-owners are Jason Kranitz and
                   Susan Kranitz (Secured by Toyota
                   Financial)                                                             $0.00     N/A                               $28,441.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        THE KINGPIN EMPIRE, INC.                                                 Case number (If known)
              Name

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                  $28,441.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of       Valuation method used    Current value of
                                                                      debtor's interest       for current value        debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.kingpinuniversity.com                                            Unknown                                           Unknown


           Kingpin Facebook Page under
           kingpinfabricationtools                                              Unknown                                           Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Trademarks and Tradename of Kingpin
           University                                                                $0.00                                        Unknown



65.        Goodwill
           General Goodwill of Business                                         Unknown                                           Unknown



66.        Total of Part 10.                                                                                                         $0.00
           Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                  page 5
                     Case 23-11477-mkn                  Doc 1        Entered 04/15/23 14:53:17                Page 13 of 44

Debtor        THE KINGPIN EMPIRE, INC.                                                     Case number (If known)
              Name

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Alter Ego Claims - Pre-petition, a creditor filed suit and
           asserted that Mr. Jason Kranitz is the alter ego of
           Kingpin Empire, Inc.                                                                                                       Unknown
           Nature of claim
           Amount requested                                      $0.00


           Claims against Faulkner Buildings, LLC (prior
           Landlord) - See Answer and Counter-Claim in Case
           Number A-21-841894-C                                                                                                       Unknown
           Nature of claim        Constructive Eviction;
                                  Conversion; and Unjust
                                  Enrichment
           Amount requested                            $0.00


           Potential actions against Kravitz Schnitzer Johnson &
           Watson, Chtd. which may include an unused retainer of
           $1,000.00 remaining                                                                                                        Unknown
           Nature of claim         contract claim
           Amount requested                              $0.00


           Potential Claims against Retko Group Inc., current
           landlord, for failure to fix issues with real property.
           Likely an offset for amount due and owing on lease.                                                                        Unknown
           Nature of claim             breach of contract
           Amount requested                                 $0.00



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 6
                   Case 23-11477-mkn                   Doc 1    Entered 04/15/23 14:53:17                   Page 14 of 44

Debtor      THE KINGPIN EMPIRE, INC.                                                Case number (If known)
            Name

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                  $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 7
                         Case 23-11477-mkn                             Doc 1            Entered 04/15/23 14:53:17                            Page 15 of 44

Debtor          THE KINGPIN EMPIRE, INC.                                                                            Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $32,115.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $28,441.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $60,556.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $60,556.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 8
                        Case 23-11477-mkn                      Doc 1          Entered 04/15/23 14:53:17                  Page 16 of 44

Fill in this information to identify the case:

Debtor name         THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:           DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   CIT                                          Describe debtor's property that is subject to a lien                   $39,270.68                $15,500.00
      Creditor's Name                              All Property Described Herein Appears to be
                                                   Secured by CTI - Camara Panther PT 408 ATC
      155 Commerce Way                             Router W/Mink MM 1252 AV Pump
      Portsmouth, NH 03801
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 recorded with NV Secty of State
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2021                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Toyota Financial Services                    Describe debtor's property that is subject to a lien                   $19,740.58                $28,441.00
      Creditor's Name                              2017 Toyota Tundra - mileage 86,236.00 -
      Attention: Bankruptcy                        co-owners are Jason Kranitz and Susan
      PO Box 259001                                Kranitz (Secured by Toyota Financial)
      Plano, TX 75025
      Creditor's mailing address                   Describe the lien
                                                   Lien on Title
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5605
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                         Case 23-11477-mkn                     Doc 1          Entered 04/15/23 14:53:17                     Page 17 of 44

Debtor       THE KINGPIN EMPIRE, INC.                                                              Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       U.S. Small Business
2.3                                                                                                                         $146,005.72              $7,720.00
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All Property owned by the entity, execept for
                                                   Vehicles and CIT Collateral, is the collateral
                                                   of the SBA (See Schedule B for complete
       13925 Kingsport Road                        description)
       Fort Worth, TX 76155
       Creditor's mailing address                  Describe the lien
                                                   UCC Recorded on 4-14-2021 in all property
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $205,016.98

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        CIT Direct Capital
        155 Commerce Way                                                                                     Line   2.1
        Portsmouth, NH 03801-8660

        First-Citizens Bank & Trust Company
        239 Fayetteville Street                                                                              Line   2.1
        Raleigh, NC 27601

        Toyota Financial Services
        PO Box 5885                                                                                          Line   2.2
        Carol Stream, IL 60197

        Toyota Financial Services
        6565 Headquarter Drive                                                                               Line   2.2
        Plano, TX 75024

        Toyota Motor Credit
        6565 Headquarters Drive                                                                              Line   2.2
        Plano, TX 75024




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
                     Case 23-11477-mkn         Doc 1      Entered 04/15/23 14:53:17                   Page 18 of 44

Debtor    THE KINGPIN EMPIRE, INC.                                           Case number (if known)
          Name

      U.S. Small Business Administration
      409 Third St. SW                                                               Line   2.3
      Washington, DC 20024

      U.S. Small Business Administration
      1545 Hawkins Blvd. Suite 202                                                   Line   2.3
      El Paso, TX 79925




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                page 3 of 3
                       Case 23-11477-mkn                      Doc 1         Entered 04/15/23 14:53:17                             Page 19 of 44

Fill in this information to identify the case:

Debtor name        THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,332.00
          Affirm, Inc                                                          Contingent
          30 Isabella Stree, Floor 4                                           Unliquidated
          Pittsburgh, PA 15212                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $952.47
          American Express                                                     Contingent
          PO Box 60189                                                         Unliquidated
          City of Industry, CA 91716                                           Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number    1006
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $968.00
          American Express                                                     Contingent
          PO Box 981540                                                        Unliquidated
          El Paso, TX 79998-1535                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number    8023
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $10,938.00
          Capital One                                                          Contingent
          PO Box 30285                                                         Unliquidated
          Salt Lake City, UT 84130                                             Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number    6358
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
                                                                                                          50375
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Debtor      THE KINGPIN EMPIRE, INC.                                                        Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,863.00
         Capital One                                                  Contingent
         Attn: General Correspondence                                 Unliquidated
         P.O. Box 30285                                               Disputed
         Salt Lake City, UT 84130-0287
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   0170                    Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Capital One                                                  Contingent
         Attn: General Correspondence                                 Unliquidated
         P.O. Box 30285                                               Disputed
         Salt Lake City, UT 84130-0287
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   9642                    Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,171.00
         Captial One                                                  Contingent
         Attn: Bankruptcy                                             Unliquidated
         P.O. Box 30285                                               Disputed
         Salt Lake City, UT 84130
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   6378                    Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $300.00
         Chase                                                        Contingent
         PO Box 15298                                                 Unliquidated
         Wilmington, DE 19850-5298                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   2896
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,998.00
         Citibank                                                     Contingent
         P.O. Box 790040                                              Unliquidated
         Saint Louis, MO 63179                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   6491
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Farmers Insurance                                            Contingent
         P.O. Box 0991                                                Unliquidated
         Carol Stream, IL 60132-0991                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 5
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Debtor      THE KINGPIN EMPIRE, INC.                                                        Case number (if known)
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $187,678.00
         Faulkner Buildings LLC                                       Contingent
         c/o Unique Advisors, LLC Resident Agent                      Unliquidated
         9550 S EASTERN AVE, STE 272
         Las Vegas, NV 89123                                          Disputed

         Date(s) debt was                                                          Business Debt - Calculation - $99,689.35 at
                                                                   Basis for the claim:
         incurred April 2020   (approximately)                     12% interest from date of alleged breach -
         Last 4 digits of account number                           approximated at $33,004.00; 5% of any
                                                                   past due rent as admin fee - approximated
                                                                   at $4984.47; reasonable attorney fees and
                                                                   costs estimated at $50,000
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Kravitz Schnitzer Johnson & Watson, Chtd                     Contingent
         8985 S. Eastern Avenue, Suite 200                            Unliquidated
         Las Vegas, NV 89123
                                                                      Disputed
         Date(s) debt was incurred 2021-2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,975.00
         Leah Martin Law                                              Contingent
         Attn: Leah Martin                                            Unliquidated
         601 S. Rancho Dr. Ste C26
                                                                      Disputed
         Las Vegas, NV 89106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,500.00
         LV Net                                                       Contingent
         2595 E. Fremont St.                                          Unliquidated
         Las Vegas, NV 89104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Nevada Energy                                                Contingent
         6226 W. Sahara Avenue                                        Unliquidated
         Las Vegas, NV 89146                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $169,200.00
         Retko Group LLC                                              Contingent
         c/o Terra Properties, Inc.                                   Unliquidated
         Attn: Rob Bowman
         110 Executive Drive                                          Disputed
         Highland, IL 62249-1269                                                  Breach of Lease Agreement - Unpaid Rent, Interest
                                                                   Basis for the claim:
         Date(s) debt was incurred                                 and Attorney Fees - amount is approximated and subject to defenses
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 5
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Debtor       THE KINGPIN EMPIRE, INC.                                                               Case number (if known)
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $16,651.00
          Square, Inc.                                                         Contingent
          1455 Market St. Unit 600                                             Unliquidated
          San Francisco, CA 94103                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,017.00
          Synchrony Bank                                                       Contingent
          Attn: Bankruptcy Department                                          Unliquidated
          P.O. Box 965061                                                      Disputed
          Orlando, FL 32896-5061
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number   6897                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Affirm, Inc.
          650 California Street FL 12                                                               Line     3.1
          San Francisco, CA 94108
                                                                                                           Not listed. Explain

4.2       American Express Company
          Attn: President                                                                           Line     3.2
          200 Vesey Street
                                                                                                           Not listed. Explain
          New York, NY 10285

4.3       Block, Inc.
          1455 Market Street, Suite 600                                                             Line     3.17
          San Francisco, CA 94103
                                                                                                           Not listed. Explain

4.4       Capital One Bank USA NA
          1680 Capital One Drive                                                                    Line     3.7
          Mc Lean, VA 22102
                                                                                                           Not listed. Explain

4.5       Capital One Bank USA NA
          1680 Capital One Drive                                                                    Line     3.5
          Mc Lean, VA 22102
                                                                                                           Not listed. Explain

4.6       Capital One Bank USA NA
          1680 Capital One Drive                                                                    Line     3.6
          Mc Lean, VA 22102
                                                                                                           Not listed. Explain

4.7       Chase Bank
          Attn: Bankruptcy Department                                                               Line     3.8
          270 Park Ave. Floor 12
                                                                                                           Not listed. Explain
          New York, NY 10017-2014

4.8       Citibank Corporate Headquarters
          145 East 42nd Street                                                                      Line     3.9
          New York, NY 10017
                                                                                                           Not listed. Explain


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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Debtor      THE KINGPIN EMPIRE, INC.                                                   Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.9       Citibank, N.A. - Business Banking
          P.O. Box 70271                                                               Line     3.9
          Philadelphia, PA 16176-0271
                                                                                              Not listed. Explain

4.10      Farmers Insurance
          3120 139th Ave. SE Ste 300                                                   Line     3.10
          Bellevue, WA 98005
                                                                                              Not listed. Explain

4.11      Farmers Insurance
          4680 Wilshire Blvd.                                                          Line     3.10
          Los Angeles, CA 90001
                                                                                              Not listed. Explain

4.12      Farmers Insurance
          6301 Owensmourth Ave.                                                        Line     3.10
          Woodland Hills, CA 91367
                                                                                              Not listed. Explain

4.13      Morris Law Center
          Attn: Sarah A. Ocampo                                                        Line     3.11
          Attn: Timothy A. Wiseman
                                                                                              Not listed. Explain
          5450 W. Sahara Ave. Suite 830
          Las Vegas, NV 89146

4.14      Square Capital, LLC
          1455 Marekt Street, 8th Floor                                                Line     3.17
          San Francisco, CA 94103
                                                                                              Not listed. Explain

4.15      Square Financial Services, Inc.
          3165 East Millrock Drive, Suite 160                                          Line     3.17
          Salt Lake City, UT 84121
                                                                                              Not listed. Explain

4.16      Synchrony Bank
          777 Long Ridge Road                                                          Line     3.18
          Stamford, CT 06902
                                                                                              Not listed. Explain

4.17      Timothy A. Wiseman
          1925 Village Center Circle, Suite 150                                        Line     3.11
          Las Vegas, NV 89134
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                    444,543.47

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      444,543.47




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 5
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Fill in this information to identify the case:

Debtor name       THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            1610 Raiders Way,
           lease is for and the nature of        Suites 140 and 145;
           the debtor's interest                 Henderson, NV 89052

               State the term remaining          approximately 3 years
                                                                                    Retko Group Inc.
           List the contract number of any                                          110 Executive Drive
                 government contract                                                Highland, IL 62249-1269




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                   Case 23-11477-mkn                  Doc 1        Entered 04/15/23 14:53:17                   Page 25 of 44

Fill in this information to identify the case:

Debtor name      THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jason Kranitz               416 Luke Point Court                                      Retko Group LLC                    D
                                      Henderson, NV 89015                                                                          E/F       3.16
                                                                                                                                   G




   2.2    Jason Kranitz               416 Luke Point Court                                      Toyota Financial                   D   2.2
                                      Henderson, NV 89015                                       Services                           E/F
                                                                                                                                   G




   2.3    Jason Kranitz               416 Luke Point Court                                      Affirm, Inc                        D
                                      Henderson, NV 89015                                                                          E/F       3.1
                                                                                                                                   G




   2.4    Jason Kranitz               416 Luke Point Court                                      American Express                   D
                                      Henderson, NV 89015                                                                          E/F       3.3
                                                                                                                                   G




   2.5    Jason Kranitz               416 Luke Point Court                                      Captial One                        D
                                      Henderson, NV 89015                                                                          E/F       3.7
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3
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Debtor    THE KINGPIN EMPIRE, INC.                                                Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Jason Kranitz            416 Luke Point Court                                Capital One                        D
                                   Henderson, NV 89015                                                                    E/F   3.5
                                                                                                                          G




  2.7     Jason Kranitz            416 Luke Point Court                                Capital One                        D
                                   Henderson, NV 89015                                                                    E/F   3.6
                                                                                                                          G




  2.8     Jason Kranitz            416 Luke Point Court                                Chase                              D
                                   Henderson, NV 89015                                                                    E/F   3.8
                                                                                                                          G




  2.9     Jason Kranitz            416 Luke Point Court                                Faulkner Buildings                 D
                                   Henderson, NV 89015                                 LLC                                E/F   3.11
                                                                                                                          G




  2.10    Jason Kranitz            416 Luke Point Court                                Kravitz Schnitzer                  D
                                   Henderson, NV 89015                                 Johnson & Watson,                  E/F   3.12
                                                                                       Chtd
                                                                                                                          G




  2.11    Jason Kranitz            416 Luke Point Court                                Leah Martin Law                    D
                                   Henderson, NV 89015                                                                    E/F   3.13
                                                                                                                          G




  2.12    Jason Kranitz            416 Luke Point Court                                LV Net                             D
                                   Henderson, NV 89015                                                                    E/F   3.14
                                                                                                                          G




  2.13    Jason Kranitz            416 Luke Point Court                                Square, Inc.                       D
                                   Henderson, NV 89015                                                                    E/F   3.17
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3
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Debtor    THE KINGPIN EMPIRE, INC.                                                Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Jason Kranitz            416 Luke Point Court                                Synchrony Bank                     D
                                   Henderson, NV 89015                                                                    E/F   3.18
                                                                                                                          G




  2.15    Jason Kranitz            416 Luke Point Court                                Citibank                           D
                                   Henderson, NV 89015                                                                    E/F   3.9
                                                                                                                          G




  2.16    Susan Kranitz            416 Luke Point Court                                Toyota Financial                   D   2.2
                                   Henderson, NV 89015                                 Services                           E/F
                                                                                                                          G




  2.17    Jason Kranitz            416 Luke Point Court                                Retko Group Inc.                   D
                                   Henderson, NV 89015                                                                    E/F
                                                                                                                          G   2.1




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 3
                      Case 23-11477-mkn                Doc 1         Entered 04/15/23 14:53:17                        Page 28 of 44




Fill in this information to identify the case:

Debtor name         THE KINGPIN EMPIRE, INC.

United States Bankruptcy Court for the:    DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $10,975.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $223,383.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $311,448.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       THE KINGPIN EMPIRE, INC.                                                           Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Retko Group Inc.                                      2-8-23 -                           $9,131.00               Secured debt
             110 Executive Drive                                   $9131                                                      Unsecured loan repayments
             Highland, IL 62249-1269                                                                                          Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Landlord


      3.2.
             Kravitz Schnitzer Johnson & Watson,                   2-23-23 -                        $15,464.00                Secured debt
             Chtd                                                  8464                                                       Unsecured loan repayments
             8985 S. Eastern Avenue, Suite 200                     3-22-23 -
                                                                                                                              Suppliers or vendors
             Las Vegas, NV 89123                                   7000
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Retko Group Inc.                                      4-29-22;                         $52,222.34           Principal of entity is a guarantor
             110 Executive Drive                                   5-30-22 ;                                             on such debts
             Highland, IL 62249-1269                               6-30-22;
             Landlord                                              8-1-22;
                                                                   9-12-22;
                                                                   10-17-22;
                                                                   11-15-22;
                                                                   11-29-22;
                                                                   12-29-22;
                                                                   2-8-23

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


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Debtor        THE KINGPIN EMPIRE, INC.                                                           Case number (if known)




          None.

              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Faulkner Buldings LLC,                  Breach of Lease              Eighth Judicial District                       Pending
              Plaintiff(s) vs. Kingpin Empire         and Counterclaim             Court                                          On appeal
              Inc, Defendant(s)                                                    200 Lewis Avenue
                                                                                                                                  Concluded
              A-21-841894-C                                                        Las Vegas, NV 89101


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                             Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss                Value of property
      how the loss occurred                                                                                                                                lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Law Office of Brian D.
               Shapiro, LLC
               510 S. 8th Street                                                                                      April 10,
               Las Vegas, NV 89101                                                                                    2023                          $7,500.00

               Email or website address


               Who made the payment, if not debtor?
               Kingpin Empire, Inc.



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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Debtor        THE KINGPIN EMPIRE, INC.                                                           Case number (if known)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     5880 S. Valley View Blvd                                                                            2019-2020
                Las Vegas, NV 89118

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,

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Debtor      THE KINGPIN EMPIRE, INC.                                                             Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.
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Debtor      THE KINGPIN EMPIRE, INC.                                                            Case number (if known)




      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Unique Accounting, LLC                                                                                             2020 - current
                    9550 S. Eastern Avenue Ste. 272
                    Las Vegas, NV 89123

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Jason Kranitz
                    416 Luke Point Court
                    Henderson, NV 89015

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
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Debtor       THE KINGPIN EMPIRE, INC.                                                          Case number (if known)



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Daniel Watson - Appraiser
      .                                                                            April 8, 2023            $30,150.00

             Name and address of the person who has possession of
             inventory records
             Daniel Watson
             2531 Woodson Avenue
             Henderson, NV 89052


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Jason Kranitz                          416 Luke Point Court                                President, Secretary,                   100
                                             Henderson, NV 89015                                 Treasurer and Director



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      6-6-22; 7-4-22;
      .                                                                                                         8-3-22;
             Jason Kranitz                                                                                      9-12-22;
             416 Luke Point Court                                                                               3-13-23;
             Henderson, NV 89015                      $28,994                                                   3-21-23             Payroll

             Relationship to debtor
             Principal


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
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Debtor      THE KINGPIN EMPIRE, INC.                                                            Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 14, 2023

/s/ Jason Kranitz                                               Jason Kranitz
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Nevada
 In re       THE KINGPIN EMPIRE, INC.                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     7,500.00
             Prior to the filing of this statement I have received                                        $                     7,500.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 The initial interview with the Client.
                 b. Review of the Client’s financial situation and any follow up meetings related
                 to Client’s bankruptcy case.
                 c. Preparation of Client’s bankruptcy petition and schedules along with the
                 actual filing of such documents with the Bankruptcy Court.
                 d. Provide information to Client’s creditors about the status of Client’s
                 bankruptcy case.
                 e. Provide required documents received from the Client to the Bankruptcy
                 Trustee for the Meeting of Creditors.
                 f. Attendance with the Client at the Meeting of Creditors.
                 g. Attendance at a 2004 examination of the Debtor, its principal and/or the
                 principal’s spouse.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Only the itmes included as stated above; all other services are excluded.
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   April 14, 2023                                                        /s/ Brian D. Shapiro
   Date                                                                  Brian D. Shapiro 5772
                                                                         Signature of Attorney
                                                                         Law Office of Brian Shapiro, a Nevada LLC
                                                                         510 S. 8th Street
                                                                         Las Vegas, NV 89101-7003
                                                                         702-386-8600 Fax: 702-383-0994
                                                                         brian@brianshapirolaw.com
                                                                         Name of law firm
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                                                            District of Nevada
 In re   THE KINGPIN EMPIRE, INC.                                                                 Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 14, 2023                                 /s/ Jason Kranitz
                                                         Jason Kranitz/President
                                                         Signer/Title
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                  THE KINGPIN EMPIRE, INC.
                  1610 Raiders Way, Suite 140
                  Henderson, NV 89052

                  Brian D. Shapiro
                  Law Office of Brian Shapiro, a Nevada LLC
                  510 S. 8th Street
                  Las Vegas, NV 89101-7003

                  Affirm, Inc
                  30 Isabella Stree, Floor 4
                  Pittsburgh, PA 15212

                  Affirm, Inc.
                  650 California Street FL 12
                  San Francisco, CA 94108

                  American Express
                  Acct No 1006
                  PO Box 60189
                  City of Industry, CA 91716

                  American Express
                  Acct No 8023
                  PO Box 981540
                  El Paso, TX 79998-1535

                  American Express Company
                  Acct No 1006
                  Attn: President
                  200 Vesey Street
                  New York, NY 10285

                  Block, Inc.
                  1455 Market Street, Suite 600
                  San Francisco, CA 94103

                  Capital One
                  Acct No 6358
                  PO Box 30285
                  Salt Lake City, UT 84130

                  Capital One
                  Acct No 0170
                  Attn: General Correspondence
                  P.O. Box 30285
                  Salt Lake City, UT 84130-0287

                  Capital One
                  Acct No 9642
                  Attn: General Correspondence
                  P.O. Box 30285
                  Salt Lake City, UT 84130-0287
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              Capital One Bank USA NA
              Acct No 6378
              1680 Capital One Drive
              Mc Lean, VA 22102

              Capital One Bank USA NA
              Acct No 0170
              1680 Capital One Drive
              Mc Lean, VA 22102

              Capital One Bank USA NA
              Acct No 9642
              1680 Capital One Drive
              Mc Lean, VA 22102

              Captial One
              Acct No 6378
              Attn: Bankruptcy
              P.O. Box 30285
              Salt Lake City, UT 84130

              Chase
              Acct No 2896
              PO Box 15298
              Wilmington, DE 19850-5298

              Chase Bank
              Acct No 2896
              Attn: Bankruptcy Department
              270 Park Ave. Floor 12
              New York, NY 10017-2014
              CIT
              155 Commerce Way
              Portsmouth, NH 03801

              CIT Direct Capital
              155 Commerce Way
              Portsmouth, NH 03801-8660

              Citibank
              Acct No 6491
              P.O. Box 790040
              Saint Louis, MO 63179

              Citibank Corporate Headquarters
              Acct No 6491
              145 East 42nd Street
              New York, NY 10017

              Citibank, N.A. - Business Banking
              Acct No 6491
              P.O. Box 70271
              Philadelphia, PA 16176-0271
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              Farmers Insurance
              P.O. Box 0991
              Carol Stream, IL 60132-0991

              Farmers Insurance
              3120 139th Ave. SE Ste 300
              Bellevue, WA 98005

              Farmers Insurance
              6301 Owensmourth Ave.
              Woodland Hills, CA 91367

              Farmers Insurance
              4680 Wilshire Blvd.
              Los Angeles, CA 90001

              Faulkner Buildings LLC
              c/o Unique Advisors, LLC Resident Agent
              9550 S EASTERN AVE, STE 272
              Las Vegas, NV 89123

              First-Citizens Bank & Trust Company
              239 Fayetteville Street
              Raleigh, NC 27601

              Jason Kranitz
              416 Luke Point Court
              Henderson, NV 89015

              Kravitz Schnitzer Johnson & Watson, Chtd
              8985 S. Eastern Avenue, Suite 200
              Las Vegas, NV 89123

              Leah Martin Law
              Attn: Leah Martin
              601 S. Rancho Dr. Ste C26
              Las Vegas, NV 89106
              LV Net
              2595 E. Fremont St.
              Las Vegas, NV 89104

              Morris Law Center
              Attn: Sarah A. Ocampo
              Attn: Timothy A. Wiseman
              5450 W. Sahara Ave. Suite 830
              Las Vegas, NV 89146

              Nevada Energy
              6226 W. Sahara Avenue
              Las Vegas, NV 89146

              Retko Group Inc.
              110 Executive Drive
              Highland, IL 62249-1269
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              Retko Group LLC
              c/o Terra Properties, Inc.
              Attn: Rob Bowman
              110 Executive Drive
              Highland, IL 62249-1269

              Square Capital, LLC
              1455 Marekt Street, 8th Floor
              San Francisco, CA 94103

              Square Financial Services, Inc.
              3165 East Millrock Drive, Suite 160
              Salt Lake City, UT 84121

              Square, Inc.
              1455 Market St. Unit 600
              San Francisco, CA 94103

              Susan Kranitz
              416 Luke Point Court
              Henderson, NV 89015

              Synchrony Bank
              Acct No 6897
              Attn: Bankruptcy Department
              P.O. Box 965061
              Orlando, FL 32896-5061

              Synchrony Bank
              Acct No 6897
              777 Long Ridge Road
              Stamford, CT 06902

              Timothy A. Wiseman
              1925 Village Center Circle, Suite 150
              Las Vegas, NV 89134

              Toyota Financial Services
              Acct No 5605
              Attention: Bankruptcy
              PO Box 259001
              Plano, TX 75025

              Toyota Financial Services
              Acct No 5605
              PO Box 5885
              Carol Stream, IL 60197

              Toyota Financial Services
              Acct No 5605
              6565 Headquarter Drive
              Plano, TX 75024
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              Toyota Motor Credit
              Acct No 5605
              6565 Headquarters Drive
              Plano, TX 75024

              U.S. Small Business Administration
              13925 Kingsport Road
              Fort Worth, TX 76155

              U.S. Small Business Administration
              409 Third St. SW
              Washington, DC 20024

              U.S. Small Business Administration
              1545 Hawkins Blvd. Suite 202
              El Paso, TX 79925
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                                                     District of Nevada
 In re   THE KINGPIN EMPIRE, INC.                                                      Case No.
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for THE KINGPIN EMPIRE, INC. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 14, 2023                                   /s/ Brian D. Shapiro
Date                                             Brian D. Shapiro 5772
                                                 Signature of Attorney or Litigant
                                                 Counsel for THE KINGPIN EMPIRE, INC.
                                                 Law Office of Brian Shapiro, a Nevada LLC
                                                 510 S. 8th Street
                                                 Las Vegas, NV 89101-7003
                                                 702-386-8600 Fax:702-383-0994
                                                 brian@brianshapirolaw.com
